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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                            Eastern District of North Carolina


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Garage Builders of Raleigh, Inc.



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   4      6 – 3    5   3    1   5    3   1
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business



                                                   809 Crosstie Street
                                                   Number          Street                                      Number        Street

                                                   Knightdale, NC 27545
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Wake                                                        place of business
                                                   County




                                                                                                               Number        Street


                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor      Garage Builders of Raleigh, Inc.                                                                 Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    2     3   6   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                         MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor        Garage Builders of Raleigh, Inc.                                                                   Case number (if known)
             Name


  11. Why is the case filed in this        Check all that apply:
      district?
                                           ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ❑
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                           ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have          ✔ No
                                           ❑
      possession of any real
      property or personal property
                                           ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                              Why does the property need immediate attention? (Check all that apply.)
      attention?                                        ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                              What is the hazard?


                                                        ❑ It needs to be physically secured or protected from the weather.
                                                        ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                              (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                              options).
                                                        ❑ Other
                                                        Where is the property?
                                                                                  Number        Street




                                                                                  City                                        State     ZIP Code
                                                        Is the property insured?
                                                        ❑ No
                                                        ❑ Yes.       Insurance agency
                                                                     Contact name
                                                                     Phone

          Statistical and administrative information

         13. Debtor’s estimation of        Check one:
             available funds?              ❑ Funds will be available for distribution to unsecured creditors.
                                           ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           ❑
                                                 creditors.

         14. Estimated number of
                                            ✔ 1-49 ❑ 50-99
                                            ❑                                     ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                      ❑ 100-199 ❑ 200-999                   ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets               ❑ $0-$50,000                            ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                            ✔ $50,001-$100,000
                                            ❑                                       ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                     ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                   ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
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Debtor        Garage Builders of Raleigh, Inc.                                                                  Case number (if known)
             Name



                                            ❑ $0-$50,000                                ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                            ✔ $50,001-$100,000
         16. Estimated liabilities
                                            ❑                                           ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                         ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                       ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of             petition.
             debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is true
                                                      and correct.

                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on     08/22/2023
                                                                     MM/ DD/ YYYY



                                                 ✘ /s/ Robert Clade                                                   Printed name
                                                                                                                                          Robert Clade
                                                     Signature of authorized representative of debtor


                                                     Title                        President



         18. Signature of attorney
                                                 ✘                      /s/ William P. Janvier                        Date      08/22/2023
                                                                                                                                MM/ DD/ YYYY
                                                     Signature of attorney for debtor



                                                      William P. Janvier
                                                     Printed name

                                                      Stevens Martin Vaughn & Tadych, PLLC
                                                     Firm name

                                                      2225 W Millbrook Road
                                                     Number          Street


                                                      Raleigh                                                            NC              27612
                                                     City                                                               State            ZIP Code



                                                      (919) 582-2300                                                      wjanvier@smvt.com
                                                     Contact phone                                                       Email address



                                                      21136                                                               NC
                                                     Bar number                                                          State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name                        Garage Builders of Raleigh, Inc.

 United States Bankruptcy Court for the:
                            Eastern District of North Carolina


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     08/22/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Robert Clade
                                                                                Signature of individual signing on behalf of debtor


                                                                                Robert Clade
                                                                                Printed name


                                                                                President
                                                                                Position or relationship to debtor



Official Form B202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name                        Garage Builders of Raleigh, Inc.

 United States Bankruptcy Court for the:
                             Eastern District of North Carolina


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                        12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,          Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of             (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                 debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                               professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                               services, and           or disputed      for value of collateral or setoff to calculate
                                                                               government                               unsecured claim.
                                                                               contracts)                               Total claim, if    Deduction for      Unsecured
                                                                                                                        partially          value of           claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
1     Brian & Jill Raleigh                                                     Client                  Unliquidated                                                Unknown
      6932 Darcy Lane
      Raleigh, NC 27606


2     Delphi Dispute Resolution, LLC                                           Outstanding                                                                         Unknown
      Attn: Managing Agent                                                     Arbitration Fee
      PO Box 6442
      High Point, NC 27262

3     Internal Revenue Service                                                                                                                                     Unknown
      Attn: Managing Agent
      PO Box 7346
      Philadelphia, PA 19101-7346

4     Jeff & Jan Deckert                                                       Client                  Unliquidated                                                Unknown
      2013 Hamrick Dr.
      Raleigh, NC 27615


5     NC Dept. of Revenue                                                                                                                                          Unknown
      Attn: Managing Agent
      PO Box 1168
      Raleigh, NC 27602-1168

6     Nelson Mullins                                                           Outstanding Legal                                                                  $15,382.50
      Attn: Managing Agent                                                     Fees
      PO Box 11070
      Columbia, SC 29211

7     Richard White                                                            Shareholder -           Disputed                                                   $58,895.36
      5700 Crutchfield Road                                                    Buyout Demand
      Raleigh, NC 27616


8     Ronald Mbutha                                                            Client                  Unliquidated                                                Unknown
      3809 Doeskin Dr.
      Apex, NC 27539


Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 1
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Debtor       Garage Builders of Raleigh, Inc.                                                                   Case number (if known)
             Name



    Name of creditor and complete          Name, telephone number,          Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code    and email address of             (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                           creditor contact                 debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                            professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                            services, and           or disputed      for value of collateral or setoff to calculate
                                                                            government                               unsecured claim.
                                                                            contracts)                               Total claim, if   Deduction for     Unsecured
                                                                                                                     partially         value of          claim
                                                                                                                     secured           collateral or
                                                                                                                                       setoff
     Wake County Dept. of Revenue                                                                                                                      Unknown
9
     Attn: Managing Agent
     PO Box 2331
     Raleigh, NC27602


10




11




12




13




14




15




16




17




18




19




20




Official Form 204                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                             RALEIGH DIVISION

IN RE: Garage Builders of Raleigh, Inc.                                                CASE NO

                                                                                       CHAPTER 11




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       08/22/2023            Signature                                  /s/ Robert Clade
                                                                          Robert Clade, President
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                              Brian & Jill Raleigh
                              6932 Darcy Lane
                              Raleigh, NC 27606




                              Delphi Dispute Resolution,
                              LLC
                              Attn: Managing Agent
                              PO Box 6442
                              High Point, NC 27262


                              Internal Revenue Service
                              Attn: Managing Agent
                              PO Box 7346
                              Philadelphia, PA 19101-7346



                              Jeff & Jan Deckert
                              2013 Hamrick Dr.
                              Raleigh, NC 27615




                              NC Attorney General
                              Attn: Managing Agent
                              9001 Mail Service Center
                              Raleigh, NC 27699-9001



                              NC Dept. of Revenue
                              Attn: Managing Agent
                              PO Box 1168
                              Raleigh, NC 27602-1168



                              Nelson Mullins
                              Attn: Managing Agent
                              PO Box 11070
                              Columbia, SC 29211



                              Richard White
                              5700 Crutchfield Road
                              Raleigh, NC 27616
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                               Ronald Mbutha
                               3809 Doeskin Dr.
                               Apex, NC 27539




                               US Attorney General - US DOJ
                               Attn: Managing Agent
                               950 Pennsylvania Ave., NW
                               Washington, DC 20530



                               US Attorney's Office (ED)
                               Attn: Managing Agent
                               150 Fayetteville St. Ste. 2100
                               Raleigh, NC 27601



                               Wake County Dept. of
                               Revenue
                               Attn: Managing Agent
                               P.O. Box 2331
                               Raleigh, NC 27602
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                                                   United States Bankruptcy Court
                                                    Eastern District of North Carolina

In re    Garage Builders of Raleigh, Inc.                                                          Case No.
                                                                          Debtor(s)                Chapter                     11



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for           Garage Builders of Raleigh, Inc.          in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔ None [Check if applicable]
❑


              08/22/2023                                            /s/ William P. Janvier
Date                                              William P. Janvier
                                                  Signature of Attorney or Litigant
                                                  Counsel for Garage Builders of Raleigh, Inc.
                                                  Bar Number: 21136
                                                  Stevens Martin Vaughn & Tadych, PLLC
                                                  2225 W Millbrook Road
                                                  Raleigh, NC 27612
                                                  Phone: (919) 582-2300
                                                  Email: wjanvier@smvt.com




                                                                          1
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                                                   UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                           RALEIGH DIVISION

                In re: Debtor(s)
                Garage Builders of Raleigh,                                                   Case No.
                Inc.                                                                          Chapter 11
                                                               Debtor(s)


                                         DEBTOR'S ELECTRONIC NOTICING REQUEST (DEBN)
                CHECK ONLY ONE BOX FOR THE APPLICABLE SECTION BELOW:
                 ✔ Initial Request: (Check this box to begin receiving notices and orders from the U.S. Bankruptcy Court via email.)
                 ❑

                 Pursuant to Bankruptcy Rule 9036, I hereby request receipt of court notices and orders via email, instead of U.S. mail, from the
                 Bankruptcy Noticing Center (BNC) through the U.S. Bankruptcy Court's Debtor Electronic Bankruptcy Noticing (DeBN) program.

                 I understand that this request is limited to receipt of only notices and orders filed by the U.S. Bankruptcy Court. I will continue to
                 receive documents filed by all other parties, such as the trustee and creditors, via U.S. mail or in person pursuant to court rules.

                 I understand that I will receive electronic notice of any documents entered by the court in any current or future bankruptcy or
                 adversary case from any bankruptcy court district in which I am listed with the same name and address, including cases where I
                 am listed as a creditor.

                 I understand that the first time the BNC receives an email bounce-back (undeliverable email), my DeBN account will be
                 automatically disabled. I will then receive notices and orders via U.S. mail, and I must file an updated request form if I wish to
                 reactivate my account.

                 I understand that enrollment in DeBN is completely voluntary, and I may file a request to deactivate my account at any time.


                 ❑ Decline Request: (Check this box to decline receiving notices and orders from the U.S. Bankruptcy Court via email.)

                 ❑ Update to Account Information: (Check this box to make changes to your existing DeBN account.)
                 I request the following updates(s) to my DeBN account:

                   ❑ I have a new email address as indicated below.
                   ❑ I filed a new bankruptcy case, and I have an existing DeBN account. Please review my account to ensure my name and
                   address in my account match this new case.

                   ❑ I request reactivation of my DeBN account so that I may receive court notices and orderes via email, instead of U.S mail.

                 ❑ Request To Deactivate Electronic Noticing: (Check this box to request deactivation of your DeBN account.)
                 I request deactivation of my DeBN account. I understand that by deactivating my account, I will begin receiving notices and orders
                 entered by the U.S. Bankruptcy Court via U.S. mail, instead of email.
                 I understand that I will continue to reveive electronic notices until such time as the Court has deactivated my account.

                I am a debtor in this bankruptcy case, or the debtor's authorized representative if the debtor is a business, and I have read the
                applicable section check-marked above and understand and agree to the terms and conditions set forth therein. Neither the U.S.
                Bankruptcy Court nor the BNC bears any liability for errors resulting from the information I have submitted on this form. If I already
                have a different electronic noticing account, you may deactivate that account and create this DeBN account.


                Joint debtors who each request enrollment or already have a DeBN account must file separate forms.


                /s/ Garage Builders of Raleigh, Inc.                                                    Date: 08/22/2023
                Garage Builders of Raleigh, Inc.


                Printed Name (and title if not the debtor): Garage Builders of Raleigh, Inc.


                Email Address (type or print clearly):                   bob@garagebuildersofraleigh.com
